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               1 MICHAEL W. BIEN – Cal. Bar No. 096891
                 VAN SWEARINGEN – Cal. Bar No. 259809
               2 ALEXANDER GOURSE – Cal. Bar No. 321631
                 AMY XU – Cal. Bar No. 330707
               3 ROSEN BIEN GALVAN & GRUNFELD LLP
                 101 Mission Street, Sixth Floor
               4 San Francisco, California 94105-1738
                 Telephone: (415) 433-6830
               5 Facsimile: (415) 433-7104
                 Email:       mbien@rbgg.com
               6              vswearingen@rbgg.com
                              agourse@rbgg.com
               7              axu@rbgg.com
               8 KELIANG (CLAY) ZHU – Cal. Bar No. 305509
                 DEHENG LAW OFFICES PC
               9 7901 Stoneridge Drive #208
                 Pleasanton, California 94588
              10 Telephone: (925) 399-5856
                 Facsimile: (925) 397-1976
              11 Email:       czhu@dehengsv.com
              12 ANGUS F. NI – Wash. Bar No. 53828*
                 AFN LAW PLLC
              13 502 Second Avenue, Suite 1400
                 Seattle, Washington 98104
              14 Telephone: (773) 543-3223
                 Email:       angus@afnlegal.com
              15 * Pro Hac Vice application forthcoming
              16 Attorneys for Plaintiffs
              17
              18                            UNITED STATES DISTRICT COURT
              19         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
              20 U.S. WECHAT USERS ALLIANCE,                   Case No. 3:20-cv-05910-LB
                 CHIHUO INC., BRENT COULTER,
              21 FANGYI DUAN, JINNENG BAO,                     DECLARATION OF BRENT
                 ELAINE PENG, and XIAO ZHANG,                  COULTER IN SUPPORT OF
              22                                               PLAINTIFFS’ MOTION FOR
                           Plaintiffs,                         PRELIMINARY INJUNCTION
              23       v.                                      Judge: Hon. Laurel Beeler
              24 DONALD J. TRUMP, in his official              Date: September 17, 2020
                 capacity as President of the United States,   Time: 9:30 a.m.
              25 and WILBUR ROSS, in his official              Crtrm.: Remote
                 capacity as Secretary of Commerce,
              26
                               Defendants.                     Trial Date:       None Set
              27
              28

                                                                                       Case No. 3:20-cv-05910-LB
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               1         I, Brent Coulter, declare:
               2         1.      I am a plaintiff in the above-entitled action (the “Action”). I have personal
               3 knowledge of the matters set forth herein, and if called as a witness, I could and would
               4 competently so testify.
               5         2.      I am a United States citizen living in San Francisco, California.
               6         3.      I recently graduated from the University of California, Hastings College of
               7 the Law with a Juris Doctor, and am now preparing for the California bar exam.
               8         4.      WeChat plays a central role in my life and it provides me the means to
               9 communicate with my friends and family both in the U.S. and abroad. I have
              10 approximately 1,617 contacts on WeChat right now.
              11         5.      I previously lived in China for approximately five years (2012-2017), where
              12 I studied at Sichuan University in Chengdu, China and worked in marketing and policy.
              13         6.      While in China, I used WeChat as my main method of communication to
              14 connect with my friends and professional contacts, because WeChat was and is the most
              15 widely-used app in China. WeChat’s convenience and popularity gave my family members in
              16 the U.S. a way to communicate with me from afar, in a multitude of ways (such as sharing
              17 photos and comments) not provided by services such as Skype. Additionally, WeChat is not
              18 only a social media platform and messaging application, but it also serves as necessary tool for
              19 travel in China and allows consumers to purchase plane tickets and arrange ride shares like
              20 Uber.
              21         7.      WeChat’s international platform remains vital in my everyday life because I
              22 continue to use WeChat in the United States. WeChat is the only option I have to
              23 communicate with everyone I met in China, from expats to close friends. I read my friends’
              24 posts on WeChat Moments, learn about the world through their eyes, and they do the same
              25 with me. Without WeChat, we will no longer be able to share our worlds with each other.
              26         8.      WeChat has helped me further U.S. interests in China. While in law school, I
              27 established the Asian Law & Business Association (ALBA) with my peers. Through ALBA,
              28 my colleagues and I worked together with Chinese representatives from the American

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               1 Chamber of Commerce to contribute chapters to its annual white paper on U.S. Business in
               2 China. Without WeChat, this collaborative contribution would have never been possible.
               3          9.     I rely on WeChat to build upon my professional career straddling the U.S. and
               4 China. I use WeChat to make new friendships and share my life others around the globe.
               5 Banning it would effectively erase much of the hard work I and many other international
               6 consumers put into learning about China. I greatly fear that I will lose the network that I have
               7 built on WeChat if the WeChat ban becomes effective.
               8          10.    Shortly after hearing news of the ban, I was beyond disturbed by the
               9 implications that it will have on the life. After years immersed in China tediously studying
              10 Mandarin, putting time and effort into building relationships, and taking the risks it required to
              11 achieve my bold dreams of building an international professional career, the WeChat ban
              12 threatens to undermine all of this because it is my lifeline to China. The ban feels extremely
              13 personal. Not only will the ban prevent me from sharing updates of my life with people, I get
              14 emotional knowing that I could lose touch with beloved friends and the families who so
              15 generously invited me into their homes. I firmly believe that trusting relationships serve as a
              16 foundation for a constructive future with China. Without them, I am extremely worried about
              17 the fate of my career and the fate of the people of our two nations. Any future travel to China
              18 would be a logistical nightmare, from difficulty navigating, to organizing meetings and
              19 networking. WeChat is simply that central to my interaction with China and its people.
              20          11.    I have anxiously scrambled to take action before the ban goes into effect.
              21 Combing through my list of more than 1,600 friends to pick which people who are most
              22 important has been stressful, depressing, and time consuming. I have had to message
              23 friends and professionals for alternative contact information and had to post on my
              24 WeChat Moments to let others know I may lose contact with them. For some contacts,
              25 saving their Chinese phone number allows me to communicate with them via iMessage or
              26 FaceTime, but that only works if both of us have an iPhone. In order to call or text those
              27 who do not have an iPhone, I have to pay international calling or texting fees or contact
              28 them via email, which is unreliable for communicating in China. I have yet to identify

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               1 another app that can replace WeChat.
               2         12.    Moreover, I will lose all of the tags or notes I have created for nearly all of
               3 my contacts that allow me to efficiently group contacts, recall important details about
               4 them, and share posts exclusively to each tag group. For example, I have added the tag
               5 “Sichuan University” to my classmates which allows me to easily find them or share a post
               6 exclusively for them to see and I have added notes such as “Lawyer met in Chengdu at
               7 AGM” to specifically recall who a contact is and where we met. So, not only do I have the
               8 difficult burden of finding alternative means to stay in touch, I now have to tediously
               9 account for every important tag and note that I have created for each contact.
              10
              11         I declare under penalty of perjury under the laws of the United States of America
              12 that the foregoing is true and correct, and that this declaration is executed at San Francisco,
              13 California this ___
                                  25 day of August, 2020.

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                                                                 Brent Coulter
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